Case 6:10-cr-00193-GAP-DAB Document 169 Filed 02/14/17 Page 1 of 5 PageID <pageID>



                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION


   JASON DENNIS MCGUIRE,

                         Petitioner,

   v.                                                     Case No: 6:16-cv-1117-Orl-31DCI
                                                                   (6:10-cr-193-Orl-31DCI)

   UNITED STATES OF AMERICA,

                         Respondent.
                                            /

                                            ORDER

         This cause is before the Court on the Motion to Vacate, Set Aside, or Correct

   Sentence (“Motion to Vacate,” Doc. 1) filed by Petitioner pursuant to 28 U.S.C. § 2255.

   Petitioner also filed a supporting Memorandum of Law (Doc. 2). The Government filed

   a Response (Doc. 7) in opposition to the Motion to Vacate. Petitioner filed a Reply (Doc.

   10) to the Response. For the reasons set forth herein, the Motion to Vacate is denied.

                               I.      PROCEDURAL BACKGROUND

         A Grand Jury charged Petitioner in a three count Indictment with the

   commission of various crimes. (Criminal Case 6:10-cr-193-31DCI, Doc. 1).1 Count One

   involved the attempted destruction of an aircraft in violation of 18 U.S.C. § 32(a); Count

   Two involved using and carrying a firearm during and in relation to a crime of violence

   in violation of 18 U.S.C. § 924(c); and Count Three involved the possession of a firearm


         1   Criminal Case No. 6:10-cr-193-Orl-31DCI will be referred to as “Criminal Case.”
Case 6:10-cr-00193-GAP-DAB Document 169 Filed 02/14/17 Page 2 of 5 PageID <pageID>



   by a convicted felon in violation of 18 U.S.C. § 924(a). Prior to trial, Petitioner entered a

   plea of guilty to Count Three. (Criminal Case Doc. 83). A jury found Petitioner guilty

   as to Counts One and Two. (Criminal Case Doc. 121).           On April 26, 2011, the Court

   entered a Judgment in a Criminal Case (Criminal Case Doc. 133) in which Petitioner

   was adjudicated guilty of the crimes and sentenced to imprisonment for a total term of

   150 months, to be followed by supervised release for a total term of three years.

   Petitioner filed a direct appeal, and the Eleventh Circuit Court of Appeals affirmed on

   January 30, 2013. (Criminal Case Doc. 161).

                                        II.    ANALYSIS

          The Motion to Vacate is subject to dismissal because it was not timely filed under

   the one-year period of limitation set forth in section 2255. In the present case, the

   Eleventh Circuit Court of Appeals affirmed Petitioner’s convictions and sentences on

   January 30, 2013. (Criminal Case Doc. 161). The United States Supreme Court denied

   Petitioner’s petition for a writ of certiorari on April 1, 2013. (Criminal Case Doc. 163).

   Thus, the judgment of conviction became final on April 1, 2013. As result, Petitioner

   had until April 1, 2014, to file a section 2255 motion. The Motion to Vacate was filed on

   June 24, 2016, long after the one-year period of limitation expired.

          Petitioner argues that the Motion to Vacate is timely because “Johnson applies to

   § 924(c)(3)(B)’s residual clause [and] § 924(c)(3)(B)’s residual clause is identical to the

   ACCA’s residual clause . . . .” (Doc. 10 at 2). In Johnson v. United States, 135 S. Ct. 2551

   (2015), the Supreme Court held that the residual clause of the Armed Career Criminal
                                                 2
Case 6:10-cr-00193-GAP-DAB Document 169 Filed 02/14/17 Page 3 of 5 PageID <pageID>



   Act’s (“ACCA”), 18 U.S.C. § 924(e), is unconstitutionally vague. Id. at 2557–58, 2563.

   The Johnson decision was made retroactive on collateral review by the Supreme Court in

   Welch v. United States, 136 S. Ct. 1257 (2016). According to Petitioner, the decision in

   Johnson “invalidates section 924(c)(3)(B).” (Doc. 10 at 5).

          The decision in Johnson affords Petitioner no collateral relief with regard to his §

   924(c) conviction.   The Johnson decision did not address the statute under which

   Petitioner was convicted. Instead, Johnson ruled on the constitutionality of the residual

   clause of the ACCA, § 924(e)(2)(B)(ii). Neither the Supreme Court nor the Eleventh

   Circuit Court of Appeals “has extended Johnson’s § 924(e) residual clause ruling to

   conclude that the § 924(c)(3)(B) residual clause is unconstitutionally vague.” United

   States v. Langston, No. 16-10689, 2016 WL 6276044, at *6 (11th Cir. October 27, 2016).

   Consequently, the Motion to Vacate was untimely, and Petitioner is unable to satisfy the

   exception to the one-year period of limitation in 28 U.S.C. § 2255(f)(3). As a result, the

   Motion to Vacate is denied.

                            III.   CERTIFICATE OF APPEALABILITY

          This Court should grant an application for a certificate of appealability only if the

   petitioner makes “a substantial showing of the denial of a constitutional right.” 28

   U.S.C. ' 2253(c)(2). To make such a showing “[t]he petitioner must demonstrate that

   reasonable jurists would find the district court’s assessment of the constitutional claims

   debatable or wrong.” Slack v. McDaniel, 529 U.S. 473, 484 (2000); see also Lamarca v. Sec’y,



                                                3
Case 6:10-cr-00193-GAP-DAB Document 169 Filed 02/14/17 Page 4 of 5 PageID <pageID>



   Dep’t of Corr., 568 F.3d 929, 934 (11th Cir. 2009). However, the petitioner need not show

   that the appeal will succeed. Miller-El v. Cockrell, 537 U.S. 322, 337 (2003).

          Petitioner fails to demonstrate that reasonable jurists would find the district

   court’s assessment of the constitutional claims debatable or wrong. Moreover, Petitioner

   cannot show that jurists of reason would find this Court’s procedural rulings debatable.

   Petitioner fails to make a substantial showing of the denial of a constitutional right.

   Thus, the Court will deny Petitioner a certificate of appealability.

                                       IV.    CONCLUSION

          Accordingly, it is ORDERED and ADJUDGED as follows:

          1.     The Motion to Vacate, Set Aside, or Correct Sentence (Doc. 1) is DENIED.

          2.     This case is DISMISSED with prejudice.

          3.     Petitioner is DENIED a certificate of appealability.

          4.     The Clerk of the Court is directed to enter judgment in favor of

   Respondent and to close this case. A copy of this Order and the judgment shall also be

   filed in criminal case number 6:10-cr-193-Orl-31DCI.

          5.     The Clerk of the Court is directed to terminate the section 2255 motion

   (Criminal Case Doc. 167) filed in criminal case number 6:10-cr-193-Orl-31DCI.

          DONE and ORDERED in Orlando, Florida on February 14, 2017.




                                                 4
Case 6:10-cr-00193-GAP-DAB Document 169 Filed 02/14/17 Page 5 of 5 PageID <pageID>




   Copies furnished to:

   Counsel of Record
   Unrepresented Party
   OrlP-2 2/14




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